                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )    No. 1:11-cr-27-HSM-SKL-03
                                                )
 CHARLES SHELTON                                )

                               MEMORANDUM AND ORDER

        CHARLES SHELTON (“Defendant”) appeared for a hearing on October 27, 2016, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for a
 Warrant or Summons for an Offender Under Supervision (“Petition”).

        Defendant was placed under oath and informed of his constitutional rights. It was
 determined that Defendant wished to be represented by an attorney and he qualified for
 appointed counsel. Federal Defender Services of Eastern Tennessee was appointed to represent
 Defendant. It was also determined that Defendant had been provided with and reviewed with
 counsel a copy of the Petition.

        The Government moved that Defendant be detained without bail pending his revocation
 hearing before U.S. District Judge Mattice. Defendant waived his right to a preliminary hearing
 and a detention hearing.

         Based upon the Petition and waiver of preliminary hearing, the Court finds there is
 probable cause to believe Defendant has committed violations of his condition of supervised
 release as alleged in the Petition.

        Accordingly, it is ORDERED that:

        (1) Defendant shall appear for a revocation hearing before U.S. District Judge Mattice.

        (2) The Government’s motion that Defendant be DETAINED WITHOUT BAIL
        pending his revocation hearing before Judge Mattice is GRANTED.

        (3) The U.S. Marshal shall transport Defendant to a revocation hearing set before District
        Judge Mattice on Friday, November 18, 2016 at 2:00 p.m.

        SO ORDERED.

        ENTER.
                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




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